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           EXHIBIT A
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                                                    PLAYER PARTICIPATION AGREEMENT

                       This Agreement dated as of 28 th May, 2022 (this Agreement which shall include each Schedule and Annex
            to it) is made between (1) LIV Golf Holdings Ltd, a private limited company incorporated under the laws of Jersey
            (League HoldCo), LIV Golf Incorporated, a Delaware corporation (US OpCo), LIV Golf Ltd, a private limited company
            incorporated under the laws of England and Wales ( UK OpCo), and Talor Gooch, an individual o f -
                                ( Player).
            IT IS HEREBY AGREED as follows:
            1.      Engagement
            1.1     The Player is engaged as a professional golfer (a) by the League Operator before the Designation Date (as
                    defined in Section 2.2 below) and (b) by the Team Operator following the Designation Date and when the
                    Team Operator becomes a Party to this Agreement.
            1.2     It is agreed that the Player shall not be eligible for relegation until the end of the 2025 Season.
            1.3




                                                        The Player shall not refuse to participate fully in any Event due to a conflict
                       with a Key Event unless such Key Event is scheduled to take place within 5 days of the applicable Event.
            1.4        It is acknowledged that (a) the League Operator currently intends (but does not guarantee) to schedule a
                       Season of 8 "Invitational Series" Tournaments during Fiscal Year 2022 (the "2022 Season"), a Season of 10
                       " Invitational Series" Tournaments during Fiscal Year 2023 (the "2023 Season") and a Season of 14
                       Tournaments (plus the League Qualification Event if applicable) during each subsequent Season but that (b)
                       the actual number of such Tournaments in any Season may be determined by the League Operator at its sole
                       discretion. The Player agrees, as a fundamental condition of this Agreement, to participate in each no less
                            I
                       than Tournaments in the 2022 Season (including the Team World Championship in 2022) and in each
                       Tournament in each subsequent Season during the Term in accordance with this Agreement and the League
                       Regulations (the "Playing Commitment" ).
            1.5        The Player agrees that both before and after the Designation Date he will perform this Agreement as an
                       independent contractor and that nothing in this Agreement may be construed or relied upon as evidence that
                       the League Operator or the Team Operator, as the case may be, is an employer, joint-employer, and/or co-
                       employer of the Player.




            2.
            2.1



            2.2




            2.3



            2.4




                  3.     Term

                                                                                                                                     I

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            3.1    This Agreement shall come into effect on t he Effective Date and shall remain in force until 60 days after the
                   final Tournament of th e - Season unless this Agreement is termina ted earlier in accordance with its t erms
                   (the "Term"). If the Player finishes th e - Season with an individual ranking o f . or better then the Player
                   in his sole discretion will have t he option to renew the Term for t h e - Season and if such ranking i n .
                   is■ or better t he Player in his sole discretion will have the option to renew the Term for th e -
                   Seasons. If applicable, the Player shall inform the League Operator and/or Team Operat or whether he
                   intendes to exercise this renewal option wit hin 60 days of the final Tournament of t h e - season.
            3.2    Not later than 6 months before the end of the Term t he Player and its Representatives shall negotiate,
                   exclusively and in good faith with the League Operator and the Team Operator (and not, for t he avoidance of
                   doubt, any Other Team Operat or), in respect of the terms and conditions on which the Player would be willing
                   to extend the Term. Any such extension shall be recorded in writing and signed by all Parties.
            4.     Payments
            4.1    In consideration for the Player fully performing this Agreement, and in each case, subject to this Agreement,
                   the League Regulations and all Team Rules and Policies t he relevant Payor Entity (as applicable) shall pay to
                   the Player during the Term: (a) Individual and Team Prize Money as set ou t below, (b) Commitment Fees in
                   accordance with Schedule 1, (c) Annual Payments in accordance with Schedule 2, and (d) Adjusted Earnings
                   Payments in accordance wit h Schedule 3.
            4.2    Individual Prize Money: The Player shall be paid his share of t he following sums:
                   (a) wit h respect to each Season ( i ) - (or such greater amount as the League Operator determines
                         in its discretion) in respect of each Regular Tournament to be allocated t o League Players based on their
                         performance as set out in the League Regulations, and (ii) a share o f - (or such greater amount
                         as the League Operator det ermines in its discretion) if the Player finishes in t he top 3 League Players at
                         t he end of t he series of Regular Tournaments (the League's "Individual World Championship," as set out
                         in the League Regulations) provided that the Player has complied fully with his Playing Commitment in
                         respect of the relevan t Fiscal Year; and
                   (b) - • to be paid to the Player if, following the Exercise Date and during t he Term, he wins t he
                         Mast ers, the US Open, the Open Championship or the United St ates PGA Championship provided that he
                         has, while compet ing in such tournament, complied with all of his obliga t ions in t his Agreement including
                         as regards apparel and has sa t isfied the Full Season Condi t ion in respect of the relevan t Fiscal Year (such
                         sum t o be paid within 30 days of the end of t he relevant Season).
            4.3    Team Prize Money: The Player shall be paid his share of the following sums in respect of each Season:
                      (a) -               (or such greater amount as the League Operator determines in its discretion) to be
                            allocated among the t op 3 League Teams competing in each Regular Tournament as set out in t he
                            League Regulations (wit h t he entitlement to such share ending on the Designation Date); and
                      (b) -                (or such greater amount as t he League Operator determines in its discret ion) to be
                            allocated among the League Teams competing in the Team World Championship, based on their
                            performance as set out in the League Regulations.
            4.4    Before the Designation Date the League Operator shall pay or cause the applicable Payor Entity to pay to the
                   Player (i) Prize Money and Commit ment Fees and (ii) following the Exercise Date Annual Payments.
            4.5    After the Designation Date: (a) t he League Operat or shall pay or cause the applicable EventCo t o pay, (i)
                   Individual Prize Money (if any) and Commitment Fees t o the Player and (ii) Team Prize Money (if any) to t he
                   Team Operator and (b) the Team Operator shall pay the Player (i) following t he Exercise Date, Annual
                   Payments under Schedule 2 to the Player, (ii) the Player's share of Team Prize Money received by the Team
                   Operator in respect of each Fiscal Year during the Term and (iii) and Adjusted Earnings Payment s in
                   accordance with Schedule 3.
            4.6




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            4.7    All payments required to be made t o the Player shall be made by check or wire transfer of funds to such bank
                   account as the Player may provide t o t he League Operator and t he Team Operator in writing from time to
                   time.
            4.8




            5.     Player Rights, Obligations and Acknowledgements
            5.1    The Player confirms that he has been provided wit h and has read t he League Regulations and that by signing
                   this Agreement and by participating in each Tournament he agrees t hat he is bound by and shall comply fully
                   at all times with t he League Regulations (as t he same may be amended from time to t ime) . The Player will be
                   notified of any changes to the League Regulations and it shall be his obligation to prompt ly to familiarize
                   himself with such changes. It is agreed that if t here is any inconsistency between the League Regulations and
                   this Agreement then the provisions of this Agreement shall prevail.
            5.2    The Player acknowledges and agrees that t he League Regula t ions include a number of obligat ions in relation
                   to conduct before, at and in relation to Events including Tournaments (such as registration in good time and
                   a req uirement to insure) and that such obligations are an essential part of the Player's obligations in respect
                   of each Tournament.
            5.3    In addition t o t he obligations under t he League Regulat ions, t hroughout the Term the Player agrees to do t he
                   following throughout the Term:
                     (a) comply fully wit h t he League Regulations and Team Rules and Policies including as regards Team
                           Apparel;
                     (b) and at any time thereafter not to assert any claim, or bring any action or proceeding arising out of or
                            relating to the League Regula t ions or Team Rules and Policies, except, in each case, for any claims,
                            actions or proceedings properly brought in accordance with the League Regulations and Team Rules
                            and Policies,;,
                     (c) following the Designation Date, without first obtaining League Operator Approval, not play for, or
                            ot herwise become engaged by or on behalf of, any Other Team in a Tournament;
                     (d) inform the Team Operator and t he League Operator in writing immediat ely (and, in any event, within
                            two (2) Business Days) if the Player is unable or is unlikely to be able to participate in any Event or
                            ot herwise comply with any provision of t his Agreement, including as a result of any injury (including a
                            Golf-Related Injury), illness or Player Emergency;
                     (e) if requested by t he Team Operator and/or t he League Operator participate fully in respect of Team
                            Promotional Activities and League Activities regardless of whether the Player is able to participate in
                            a Tournament due to an injury (but taking into account any limit ation imposed by such injury);
                     (f) if requested by the League Operator or Team Operator with reasonable notice participate fully in in up
                            to 7 additional Service Days in Fiscal Year 2022 and 12 additional Service Days in each subsequent Fiscal
                           Year but no Service Day may occur on t he same day as the Player is competing in any Covered Golf
                           Act ivity. The Player shall be excused from attending any such Service Days in the event of a Player
                            Emergency or pre-exist ing personal commitment provided that the Player notifies the Team Operator
                            and/or League Operator, as applicable, of such Player Emergency or commitment as soon as practicable
                            and, in any event within 5 days of being informed of t he proposed date(s) of any such Service Days;
                     (g) not act or omit to act in any way which would cause, or would reasonably be expected to cause, either
                            the League Operator or Team Operat or to be in breach of any League Rights Agreement or Team Rights
                           Agreement respectively, any Venue Agreement or of any agreement or arrangement with any
                            Distributor;
                     (h) on and following the Exercise Dat e when involved in any League Activity, Team Promot ional Activity or
                            any other Covered Golf Activity: (i) the Player shall wear and use only the appropriate Team Apparel
                            and not display any badge, mark, logo, insignia, or trading name (including any Intellectual Property
                            owned by the Team Operator or t he League Operator) without first obtaining t he Specified Approval.
                            It is agreed that t he Player may display a single badge, mark, logo, insignia, or t rading name of one
                            third -party supplier of golf technical equipment on the right side of t he Player's hat or cap, which hat

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                            or cap shall ot herwise meet all requirements for Team Apparel as set out in this Agreement and t he
                            League Regulations; and (ii) subject as provided in this Agreement refrain from using or otherwise
                            appearing with or using any product (e.g., any hard goods like a coffee mug) bearing any badge, mark,
                            logo, insignia, or trading name without first obt aining t he Specified Approval;
                      (i) not to grant or seek to grant, direct ly or indirect ly, to any person any rights of any kind in respect of
                            the League Rights, the Team Rights and/or the League;
                      U) not act or fail to act in any manner which brings or could be expected to bring any Relevant Person into
                            disreput e, scandal or ridicule including as a resul t of any comment made to the media, via any Social
                            Media channels or in any other public forum;
                      (k) refrain from (i) being accredited to act as a journalist or in any ot her capacity for any media organization
                            in rela t ion to t he League or any Tournament or (ii) providing exclusive interviews or commentaries or
                            entering int o any agreements or arrangements involving exclusive interviews with or appearances in
                            or on any media or Social Media of any kind in re lation to any Event or League Activity in each case
                            without obtaining the Specified Approval;
                      (I) comply with any policy of insurance taken out by the League Operator or Team Operator, the terms of
                            which the Player has been notified, and not knowingly do anything which will cause to be void or
                           voidable or invoke any exclusion of coverage in any such insurance policy;
                      (m) act in accordance wit h (i) all applicable Laws in any jurisdiction where a Tournament or Event is held
                            and (ii) all reasonable instructions of t he League Operator or Team Operator (and t heir duly authorized
                            personnel) in connection with t he performance of this Agreement;
                      (n) not make any st atement or commit any act (or fail to act), nor make, post, publish or communicate t o
                            any Person or in any public forum any false, defamatory, libelous, or slanderous remarks, comments or
                            statements, which could reasonably be expected to, or actually does, adversely affect (i) the Player's
                            ability to participate in and on connect ion with any Tournament or Event or (ii) t he reputation or public
                            image of any Relevant Person;
                      (o) not own, direct ly or indirectly, any interest in any Other Team Operator, Ot her Team, Event, or
                           Tournament;
                      (p) ensure that the Player's Caddie enters into and complies with the terms of the Player's Caddie Contract
                            (it being understood that a Caddie may not participate in any Event if such Caddie is not then party to
                            a Caddie Contract );
                      (q) ensure that t he Player has all necessary visas, work permits and other approvals or permissions to
                            enable t he Player to perform this Agreement including as regards t ravel to and participat ion in each
                            Event in each case in a timely fashion.
            5.4    If in respect of any Fiscal Year and in accordance wit h this Agreement and t he League Regulations, t he Player
                   sat isfies t he Full Season Condition then he shall not be obliged to play in any additional Tournaments in such
                   Season unless otherwise agreed by him.
            5.5    The Player shall at all times be entit led to use clubs, balls and shoes of his choosing when playing competitive
                   golf and to display the branding of the manufact urer on t he same save where the Team Operator elects to
                   exercise the rights to gloves and shoes on a teamwide basis following the Designation Dat e in which case the
                   Team Operator shall consult wit h the Player in respect of any additional compensation due to the Player as a
                   result of such exercise. If t he Team Operat or elects t o exercise the right s to gloves and shoes on a teamwide
                   basis, the use of t hose gloves and shoes shall be subject to the Player's consent, which shall not be
                   unreasonably withheld or delayed.
            5.6    On and after t he Effective Date, the Player shall not enter into or commit to enter into any agreement or
                   arrangement (oral or written) which conflicts with, or would reasonably be expect ed to conflict with, the
                   Player's grant of rights and ot her obligations in this Agreement (a "Conflicting Contract").
            5.7    The Player agrees tha t he has no rights of any kind in or to the League and each Event which exist at the
                   Effect ive Date or come into being at any time thereafter and tha t all such rights (including all of t he League
                   Rights and Team Rights) are vested in t he League Operator and t he Team Operat or respectively (a shall be

            5.8




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            5.9    The Player now hereby grants to the League Operator an exclusive, perpetual, royalty-free, worldwide,
                   transferable, fully paid-up irrevocable right and license (with the right to grant sublicenses) to Exhibit, Exploit,
                   copy, reproduce and otherwise use t he Player Identification as follows:
                     (a) as at the Effective Date solely in connection with promotional activit ies of any kind which are organized
                         by or on behalf of the League Operator, any Affiliate thereof or any League Rights Holder, in order to
                         promot e the League, future Tournaments, t he Team and all Other Teams, the Player (solely in respect
                          of the Player's participation in the League), ot her Team Members (solely in respect of such Team
                          Members' participation in the League), any League Player (solely in respect of such League Player's
                         participat ion in the League) and any Other Team Operator ("Launch Rights"); and
                     (b) as from t he Exercise Date in connection wit h (a)

                                                   (b) all Content created, recorded or otherwise generat ed by or on behalf of the
                           League and/or t he Team or any licensee or assignee thereof during the Term, and create derivative
                          works t hereof, in any manner whatsoever, alone or together wit h any other materials or Content, on,
                          via or through any and all media of any kind (now known or subsequently developed) in connection
                          with, related to, in furtherance of, or for the purposes of any League Activity, League Rights,
                           Promotional Activity, Team Rights, Team Promotional Activity or otherwise in relation to the League or
                          any Event.
            5.10   The Player further agrees that t he League Operator has the exclusive and unrest ricted right in perpetuity
                   (including after termina t ion of this Agreement), exercisable in its sole and absolut e discretion, to Exhibit,
                   Exploit, sell, assign license, sublicense use, dispose of, or ot herwise exercise any or all the rights granted in
                   Section 5.9 above (including with respect to any Content created during t he Term), to retain t he proceeds
                   therefrom and to do all t hings necessary for the full and complet e use, Exhibition, Exploitation, and exercise
                   of such rights.
            5.11   The Player agrees t hat the League Operator owns and controls any and all rights to Tournament Cont ent,
                   Ancillary Content, Team Content, or any ot her Content captured, recorded, taken or otherwise created by
                   the League Operat or or, as permitted by the League Operator the Team Operator, in each case during the
                   Term, in connection with the League, any Event or t his Agreement.
            5.12   Subject to this Agreement, t he Player may enter into any endorsement or sponsorship arrangement with a
                   third party and grant such third party (on a non-exclusive, non-assignable and non-sublicensable basis) t he
                   right to Exploit the Player's Player Identification, except to t he extent that such arrangement conflicts with
                   the Player's obligations under this Agreement or brings, or would reasonably be expected to bring, any
                   Relevant Person, into disreput e, scandal or ridicule, or shock or offend a portion or group of t he public, in a
                   manner that would result in, or would reasonably be expected to result in, material and demonst rable harm
                   to any Relevant Person.
            5.13   The Player agrees t hat personal details and background information concerning him including live and
                   delayed recordings, which may include images of him may be used by the League Operator and the Team
                   Operator as contemplated by t his Agreement.
            5.14   The Player understands t hat if he is determined to be physically or mentally unable to participate in any Event,
                   he will not be able to do so and the Player also agrees to execute a copy of the form of Emergency Medical
                   Release set ou t in the League Regulations.
            5.15   The Player acknowledges t hat if the Player withdraws from any Event at any t ime such wi t hdrawal shall not
                   affect any of the rights assigned by the Player or any of t he representations, warranties, covenan ts,
                   agreements, waivers, releases or indemnities made by the Player in this Agreement or any other agreement
                   related to such Event, all of which shall survive. If t he Player voluntarily withdraws from any Event he shall
                   forfeit any prize or ot her considera tion already received or to which he may otherwise be ent it led unless
                   otherwise provided by t he League Regulations.
            5.16   If the Player Retires he shall, at all t imes during the Term, continue to comply with any reasonable non-playing
                   requests from t he League Operator or Team Operator relating to the League or t he Team, as applicable



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                    including duties relat ing to team captaincy, promotion of the League, fulfilment of media obligat ions and
                    attendance at Events (including wit h respect to wearing and displaying Team Apparel).
            6.      League and Team Operator Obligations
            6.1     Neither the League Operator nor the Team Operator may use the Player Identification in any way which would
                    imply any personal commercial endorsement by t he Player of any business, product, or service, and t he
                    League Operator shall, and shall cause t he Team Operator to, use its commercially reasonable efforts t o
                    ensure that the Player Identification is not used in connection with any sponsorship or commercial
                    endorsement other t han in connection with similar Player Identifications of at least 2 Ot her Players (except
                    that nothing shall prevent t he League Operator from Exhibiting, Exploiting, copying, reproducing, editing or
                    otherwise using t he Player Ident ification in connection with any Team Apparel under Sect ion 5).
            6.2     Neither the League Operator nor t he Team Operator shall knowingly and int entionally aut horize t he Player
                    Identification to be used in any defamatory manner but for t he avoidance of doubt nothing in this Section
                    shall prevent the Player Identification from being used on an individual basis in connection wit h an
                    endorsement of the League or any Event or otherwise as permitted under t his Agreemen t .
            7.      Termination
            7 .1    Each of the Team Operator (wi t h League Operator Approval) and the League Operator may by written notice
                    terminate this Agreement with immediate effect and without consideration if at any time (a) the Team
                    Participation Agreement is terminated for any reason, or (b) the Player commits a Fundamental Default,
                    which, if capable of remedy, has not been rem edied t o t he term inating Party's reasonable satisfaction w ithin
                    20 Business Days of written notice requesting t he Player to remedy the same, or (c) a Multi-Player
                    Fundamental Default occurs in respect of which the League Operat or has not waived its rights in writing (to
                    be decided at its sole discretion), or (d) t he Player commits an irremediable Fundamental Breach, or (e) the
                    Player claims, in writing or orally, and whether direct ly or through any of its Representatives or Affiliates, that
                    this Agreement or any ot her League Document, or any of the Player's obligations hereunder or t hereunder,
                    is illegal, invalid or unenforceable in accordance w ith its or their respective terms.
            7 .2




            7.3     In t he event tha t the League Operator files any bona fide petition for t he winding up or bankruptcy of t he
                    League Operator, t hen, provided t he Player is then in compliance in all material respects with its obligations
                    under t he League Documents, the Player may terminate t his Agreement by written notice to all Parties.
            7.4     The termination of this Agreement for any reason shall not (a) affect those of its provisions t o the extent
                    expressed to survive, or to t he extent by implication are intended to survive, such termination including
                    Sections 5.7, 5.9, 5.10, 7, 8, Sect ions 2 and 3 of Schedule 1 and paragraphs 1-3, 5, 9, 11-21, 23 and 24 of
                    Schedule 5 or (b) relieve a Party of remedies against it for any Willful Breach of any of its representations,

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                   warrant ies, covenants or agreements in this Agreement before such term ination. Further, the Player further
                   acknowledges that the termination of this Agreement shall not affect any of the rights the Player has assigned
                   or granted to the Team Operator and to the League Operator or others in t his Agreement or any other
                   agreement re lating to the League or any Event including in relation to Content.
            7.5    Upon the term ination of this Agreement the Player shall return to the Team Operator (or, prior to the
                   Designation Date, the League Operator) in a reasonable and proper condition any property (including any car
                   and any equipment or other item of any kind) and all Confidential Information which has been provided or
                   made available to the Player by or on behalf of the Team Operator or the League Operator in connection with
                   this Agreement.
            7.6    If the League Operator fai ls to stage the first Tournament on or before the 2 year anniversary of the Effective
                   Date (a "Non-Performance Event") then, provided the Player is in compliance in all material respects with its
                   obligations under this Agreement, the Player may by written notice terminate this Agreement provided (but
                   not otherwise) that such not ice is properly served within 30 days of the Non-Performa nce Event in which
                   event this Agreement shall terminate on the 40th day following service of such termination notice unless
                   before such date the first Tournament has begun in which case this Agreement shall not terminate. Any Non-
                   Performance Event shall not constitute a breach of t his Agreem ent and the Player's sole and exclusive remedy
                   in relat ion to it shall be as described in this Section.
            8.     Intellectual Property
            8.1    As of the Exercise Date, the Player hereby unconditionally and irrevocably assigns to the League Operator the
                   Player's entire right, title and interest in and to all copyright and other Intellectual Property rights of any kind
                   or nature (including performer's rights} in respect of any appearance or activity by the Player in connect ion
                   with any Event, League Activity or Team Promot ional Activity and any exercise of the rights granted to the
                   League Operator under this Agreement (all such Intellectual Property rights, collectively, the "Subject IP").
                   The Player shall not during the Term or thereafter, challenge (a) the rights of the League Operator in or to the
                   Subject IP, or (b) the right of the League Operator to grant any other Person (including the Team Operator)
                   any rights or licenses relating to any of t he Subject IP.
            8.2    Upon any request by the League Operator, the Player agrees during the Term and following termination of
                   this Agreement (for no charge but at no cost to the Player) to execute such documents and do such acts as
                   may be necessary to give full effect to the terms of this Agreement, including Section 8.1 above.
            8.3    To the fullest extent allowable by applicable Law the Player waives all moral rights (if any) including any rights
                   of attribution to which the Player is or may become entitled under the applicable Laws of any country or
                   other j urisdiction in relation t o the Player's perform ance of this Agreement and the rights granted to the
                   League Operator under this Agreement.
            8.4    The Player agrees and acknowledges that all right, t itle and interest in the Marks shall be vested in the League
                   Operator, and that the Team Operator has been, or w ill be, in t he League Operator's sole and absolute
                   discretion, granted certain rights in respect thereof by the League Operator, and that: (a) the Player has no
                   interest of any kind and shall not assert any interest of any kind in the same at any time, both during and after
                   the termination of this Agreement, (b) the Player shall not, directly or indirectly, seek to make use of any of
                   the Marks without first obtaining the Specified Approval, and (c) t he Player shall not, directly or indirectly,
                   take any action which is inconsistent with or which might otherwise adversely affect the Marks. Nothing in
                   this Agreement serves to or shall be deemed to assign, convey or transfer any ownership right to the Player
                   in any of the Intellectual Property rights pertaining to the League Operator, the Team Operator, the League
                   Rights, the Team Rights, any Tournament, League Activity, Team Promotional Activity or other Promotional
                   Activity.

            IN WITNESS WHEREOF, the Parties caused this Agreement to be executed as of the Effective Date.




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                                                             LIV GOLF HOLDINGS LTD



                                                             By:
                                                                                 ~~~~~
                                                                                   6D6FFF00035449F.,.
                                                                   - Name:Stephen McCormack
                                                                       Tit le: Zedra Directors (Jersey) Limited as corporate
                                                                       director and Zedra Corporate Officers (Jersey) Limit ed as
                                                                       corporate director.



                                                             LIV GOLF INCORPORATED


                                                             By:
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                                                                       Name:
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                                                                       Tit le: COO



                                                             LIV GOLF LTD
                                                                       l ,DocuSigned by:


                                                             By:   -~~     67~~
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                                                             TALOR GOOCH




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                                                            SCHEDULE 1
                                                          Commitment Fees

            1.      Payment of Commitment Fee
            1.1     Subject as provided in t his Agreement and t he League Regulations, t he Payor Entity shall pay t he following
                    Commitment Fees in the following inst alments: ( a ) - on signature of this Agreement a n d -
                    on t he date on the date falling 7 days after the Player's participation in his first Regular Tournament in the

            1.2



            1.3     The Commitment Fees shall be paid in cash.
            1.4     No Commitment Fee Payments shall become due fol lowing t he termination of this Agreement.
            2.      Default
            2.1




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             3.      Commitment Fee Repayment
             3.1




             3.2




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                                                                SCHEDULE 2
                                                              Annual Payments
             1.      Annual Payment
             1.1




            ■
             2.
             2.1




             2.2




             3.      Annual Payment Repayment
             3.1




             3.2




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                                                                    SCHEDULE 3
                                                             Adjusted Earnings Payment
             1.       Definitions
             1.1      "Accounting Principles" means the methods, principles, policies and procedures, judgments and valuation
                      and est imation methodologies (including with respect to the calculation of reserves and accruals) applied by
                      the League Operator from time to time. Unless ot herwise determined by the League Operator (from t ime to
                      time), the Accounting Principles shall be applied consistent with the International Financial Reporting
                      Standards ("IFRS") as then in effect .
             1.2      "Adju sted Earnings" means wit h respect to each Fiscal Year during the Term, an amount equal to the Profit
                      or Loss (as such t erm is defined in IFRS) of the Team Operator and its controlled subsidiaries, during such
                      Fiscal Year (determined on a consolidated basis), in accordance with the Account ing Principles. Adjusted
                      Earnings shall exclude any income or capital receipt (including any dividends, profit distributions, ret urns of
                      capital, liquidation proceeds and disposal proceeds) arising to t he Team Operator and its cont rolled
                      subsidiaries which derives from direct or indirect participation in the equity interests of the Team Operator
                      and/or such controlled subsidiaries.
             1.3      "Adjusted Earnings Payment" means, in respect of any Fiscal Year during the Term, an amount equal to the
                      product of (a)                                      and {b) the Adjust ed Earnings for such period. For the
                      avoidance of doubt, if net income in respect of any Fiscal Year is zero or less than zero, the Adjusted Earnings
                      Payment for such corresponding Fiscal Year shall be deemed equal to zero.
             2.       Full Season Condition
             2 .1     No Adjusted Earnings Payment shall be made to t he Player in respect of any Season occurring before the
                      Designat ion Date. After the Designation Date the Team Operator's obligation to pay t he Adjusted Earnings
                      Payment to a Player for a given Fiscal Year is wholly conditional on the Player's satisfaction of the Full Season
                      Condition in relation to such Fiscal Year and if the Player fails to do so in any given Fiscal Year, t he Player shall
                      not be entitled to any Adjusted Earnings Payment for such Fiscal Year.
             3.       Adjusted Earnings Calculation Procedures
             3 .1     As soon as reasonably practicable following each Fiscal Year after the Designation Date for which the Player
                      has satisfied t he Full Season Condit ion, the Team Operator shall deliver t o the Player a certificat e (the
                      "Adjusted Earnings Certificate") sett ing out the Adjusted Earnings and the Adjusted Earnings Payment for
                      such Fiscal Year (the date on which such certificate is delivered or, if later, t he date on which such amount
                      otherwise becomes final and binding on the Parties, the "Determination Date").
             3.2      The calculation and the amounts of Adjusted Earnings and the Adjusted Earnings Payment set out in any
                      Adjusted Earnings Certificate shall be final and binding on the Player unlesssubsequent ly adjusted by the
                      Team Operator in which event t he calculation and amounts of t he Adjusted Earnings and t he Adjusted
                      Earnings Payment as so adjusted shall be final and binding on the Player.
             4.       Adjusted Earnings Payment
             4.1      Within 30 calendar days of the Determination Date in each Fiscal Year the Team Operator shall, subject to
                      this Schedule 3, pay to t he Player the applicable Adjusted Earnings Payment to the bank account notified in
                      writing by the Player to the Team Operator.




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                                                                   SCHEDULE 4
                                                           Schedule of Exceptions
            1.     Sect ion V.B.l of t he 2021-2022 PGA Tour Player Handbook & Tournament Regulations is in effect and binding
                   on th e Player in his capacity as a member of the PGA Tour as of t he Effect ive Dat e.
            2.     [Other disclosures].




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                                                                 SCHEDULE 5
                                                           Miscellaneous Provision s
             1.     Fees and Expen ses. Except as otherwise provided herein, all fees and expenses incurred in connection w ith
                    this Agreement and the transactions contemplated hereby shall be paid by the Party incurring such fees or
                    expenses. In this regard, the Player agrees that, except as expressly provided in this Agreement, the Player is
                    responsible for all fees, costs and expenses incurred by or on behalf of the Player in connection with the
                    Player's evaluation, negotiation and performance of t his Agreement, including any sums payable to any of
                    t he Player's Represent atives or other t hird party in connection w ith this Agreem ent.
             2.     Amendments and Waivers. This Agreement may be amended, supplemented or restated only w ith a w ritten
                    instrument adopted, executed and agreed to by the Parties. No waiver of any breach of any of the terms of
                    this Agreement shall be effective unless it is made expressly in w riting and executed by the Party against
                    whom such waiver is claimed. No w aivers of or exceptions to any provision of this Agreement shall be
                    deemed to be a further or continuing waiver of any such provision and no fa ilure or delay of any Party to
                    exercise to exercise any right under this Agreement shall operate as a waiver thereof. Notwithstanding the
                    foregoing the Player agrees that the League Operator and the Team Operator, respect ively, shall be entitled
                    to amend, supplement or rescind any provision of the League Regulations or the Team Rules and Policies
                    from t ime to time, in their respective sole and absolute discretion, and no such amendment, supplement or
                    rescission shall be deemed to be an amendment of or supplement to this Agreement.
             3.     Payments. Payment of any sums under this Agreement shall be subject to such reporting and w ithholding for
                    applicable taxes and other amounts to the extent required by applicable La w. If requested by the Team
                    Operator or the League Operator, the Player agrees to com plete and submit such IRS or other tax forms, and
                    to provide such other cooperation, as the Team Operator or the League Operator may reasonably require
                    from t ime to time and that payment shall be conditional on receipt of those forms and provision of such other
                    cooperation to the Team Operator or the League Operator, as applicable. If a tax or related form or fi ling
                    requires the disclosure of the Player's personal information (such as the Player's full Social Security Number
                    or tax ID), the Player acknowledges that the Player will be requ ired to make the required disclosure before
                    the Player can receive payment from the Team Operator, the League Operator or the applicable EventCo, as
                    may be applicable. For the avoidance of doubt, the Player w ill not be treated as an employee of the League
                    Operator or the Team Operator w ith respect to services performed by the Player under this Agreement for
                    federal, state or local tax purposes, and shall be solely responsible to pay all taxes owed in accordance with
                    applicable Law .
             4.     Force Majeure. (a) If any Party is totally or partially prevented or delayed in the performance of any of its
                    obligations under this Agreement by a Force Maj eure Event and if such Party gives w ritten notice thereof to
                    each other Party specifying the matters constituting the Force Majeure Event referring to this paragraph (a),
                    then the Party so prevented or delayed shall, subject to paragraphs (b) and (c) be excused from the
                    performance of the affected obligation from the date of such notice for so long as such cause or delay shall
                    continue. The Party affected by any Force Majeure Event shall prom ptly notify each other Party in w riting
                    upon the cessation of any Force Maj eure Event and shall, in such circumstances, resume its full performance
                    of the previously affected obligations under this Agreement. (b) If any notice is given under paragraph (a),
                    each Party shall use reasonable best efforts to mitigate the effect of the matters referred to in such notice
                    and, in particular, but without limitation, shall negotiate in good faith to agree to a solution to the
                    consequences of the matters constituting the relevant Force Majeure Event to achieve, to the greatest extent
                    practicable, a resolution. (c) The provisions of this paragraph 4 shall not excuse, in relation to a Force Majeure
                    Event, the performance of any obligations under this Agreement that can be performed notwithstanding the
                    relevant Force Maj eure Event.
             5.     Confidentiality. (a) The Player shall not disclose to any Person (via any means) that the Player has been chosen
                    to play in the League or otherwise entered into any agreement, arrangement or understanding w ith the
                    League Operator or in relation to the League, until such time as the League Operator has publicly made such
                    an announcement. (b) The Parties shall during the Term and thereafter treat this Agreement as being private
                    and confidential and shall not disclose its contents either directly or indirectly to any person except in
                    accordance w ith paragraph (a) above and otherwise (i) w ith the prior written agreement of the League
                    Operator, (ii) as may be required by any statutory, regulatory or governmental or quasi-Governmental
                    Authority, pursuant to the rules of any recogn ized stock exchange or as otherwise requ ired by applicable La w,

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                    (iii) by the Team Operator or t he League Operator, to any or all of their respective Affiliates, or its or their
                    respective directo rs, officers, employees, members, equity holders, agents or ot her Representatives or any
                    potent ial licensee, sponsor or business partners of the Team Operator or the League Operator (or any of their
                    respective Affiliates) or (iv) by th e Player to the Player' s Representatives or professional adviser(s) in each
                    case t o whom such disclosure is strictly necessary for t he purposes of such disclosees' duties and then only
                    to the extent so necessary (it being understood and agreed that each such Person to whom the Player makes
                    any such disclosure shall be subject to customary confident iality obligati ons with the Player that are no less
                    restrictive t han those set forth in t his Agreement). (c) Each Party shall, subj ect t o paragraph (a), be entitled
                    to refer to the fact that they have ent ered into this Agreement without being in breach of the above
                    provisions. (d) The obligations in this paragraph shall not apply to t he Parti es as regards information which (i)
                    a Party is able to prove was already in the Party's possession at the date it was received or obtained other
                    than as a consequence of a breach of confident iality, (ii) a Party subsequently obt ains from some ot her person
                    w ith good legal t it le to the same, or (iii) comes into the public domain ot herwise than t hrough t he defa ult or
                    negligence of t he applicable Party. (e) Each Party shall direct each Person to whom it discloses any informati on
                    in accordance w it h paragraph (b) above to comply w ith this paragraph 5 as if such Person were such party to
                    this Agreement and bound by this paragraph 5, and such Party shall be liable fo r any breach of this paragraph
                    5 any Person t o whom it discloses any informati on in accordance with paragraph (b).
             6.     Representations and Warranties (a) Each Party represent s, warrants and covenants to each other Party that
                    it has at the Effective Dat e and shall continue to have during t he Term the power, authority and legal right to
                    execut e and perform this Agreement and all ot her League Document s to which it is a party (including t he
                    power, authority and legal right t o grant all rights actually or purportedly granted by the Player under this
                    Agreement and such League Documents) and the performance of t his Agreement and such League
                    Documents shall not resu lt in such Party being in breach of or otherwise in conflict with any ot her agreement
                    or arrangement which is binding on it . (b) The Player represent s, warrants and covenants and confirms to
                    the League Operator that the form of Player Participation Agreement hereby executed and delivered by them
                    is t he League Operator's approved form for t he League as supplied to the Player by the League Operat or
                    w ithout any changes of any kind save where any such changes have been expressly approved in writ ing by
                    the League Operat or. (c) The Player acknowledges and agrees t hat none of the League Operat or, the Team
                    Operat or, their respect ive Affiliat es nor any of their respective Representatives is act ing as a fiduciary or
                    financial or investment adviser for it, and t he Player is not re lying upon any advice, information, counsel or
                    represent ati ons of the League Operator, the Team Operator, t heir respective Affiliates or any of their
                    respective Representatives. The Player has consulted with its own respective legal, regulatory, tax,
                    invest ment, financial and accounting advisers t o the extent it has deemed necessary, has made its own
                    respective investment decisions and has ent ered int o this Agreement and all ot her League Document s t o
                    which it is a party (or will ent er into such ot her League Document s) based upon it s own judgment and t he
                    advice of its advisors and not upon any view expressed by the League Operator, t he Team Operator, their
                    respective Affiliates, any of their respective Representatives or any ot her Person. (d) The Player has rece ived
                    from the League Operator and/or t he Team Operator certain projections, forwa rd -looking stat ements and
                    ot her forecasts. The Player specifically acknowledges and agrees t hat there are uncertaint ies inherent in
                    attempting to make such proj ections, forward-looking st atements and other fo recasts, t hat t he Player are
                    fam iliar w it h such uncertainti es, t hat t he Player is taking full respons ibility for making its own res pective
                    evaluation of the adequacy and accuracy of all projecti ons, forwa rd-looking stat ements and other forecasts
                    so furnished to it (including, for the avoidance of doubt, the reasonableness of the assumpt ions underlying
                    such proj ections, forwa rd-looking statements and ot her forecasts), and that none of t he League Operator,
                    the Team Operator, any of their respective Affiliates and any of its or t heir respective Represent at ives,
                    whet her in an individual, corporat e or any ot her capacity, (i) is making, directly or indirectly, any
                    represent ati on or warranty with respect to, and (ii) will have or be subj ect to any liability or indemnificati on
                    obligati on t o the Player or any ot her Person resu lting from (nor shall the Player have any claim with respect
                    to), the dist ri bution t o the Player, or the Player's use of, or reliance on, any information, documents,
                    projecti ons, forwa rd -looking stat ements and fo recasts (including, for the avoidance of dou bt, t he
                    reasonab leness of t he assumptions underlying such projecti ons, forward -looking statement s and forecasts),
                    regard less of the legal theory under which such liability or obligati on may be sought to be imposed, whether
                    sounding in contract or tort, or whether at law or in equity, or otherwise. (e) None of t he League Operator,

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                   the Team Operator nor any of their respect ive Affiliates, nor any of their respective Representatives shall
                   have any liability to the Player or any of his Affiliates or Representatives resulting from the use of any
                   information, documents, or materials made available to the Player or any of his Affiliates or Representatives,
                   whet her orally or in writing, in any confidential information memoranda, "data rooms," "virt ual data rooms,"
                   management presentations, due diligence (whether or not received from the League Operator, the Team
                   Operator or any of their respective Affiliates or Representatives) in any form (including via discussion or
                   presentation) in expectation of the transactions contemplated by the League Documents. (f) The Player is
                   aware that the League Operator and, following t he Designation Dat e, the Team Operator, have each been
                   recently formed and have a limited operating history and of the risks associated with the League, and
                   understands the business pursued by the League Operator and the Team Operator. (g) The Player
                   understands, acknowledges and agrees that none of the League Operator, the Team Operator, their
                   respective Affiliates, nor any of t heir respective Representat ives has (i) given the Player any assurance,
                   guarantee or re presentation whatsoever nor to the expect ed or projected success, performance, profitability,
                   return or consequence of the League or (ii) made any re presentations or warranties to t he Player regarding
                   the League Operator or the League. The Player is not relying, has not relied and specifically disclaims all
                   reliance upon any statements, re presenta t ions or warranties (whether oral, written, expressed or implied)
                   that may have been made by any other Person, and acknowledges and agrees that the League Operator, t he
                   Team Operator, t heir respective Affiliates and their respective Representatives have specifically disclaimed
                   and do hereby specifically disclaim any such ot her representation or warranty made by any other Person.
            7.     Player Representations and Warrant ies. The Player represents, warrants and covenants to the Team
                   Operator and to the League Operator t hat : (a) he is of sound mind; (b) before each Event he has been
                   thoroughly examined by a licensed medical doctor previously approved in writing by the League Operator
                   and that such medical doctor, in such m edical doctor's best medical opinion, has confirmed that th e Player
                   does not have any medical conditions or limitat ions which would interfere with his ability to participate in
                   each such Event or t hat would put the Player or other participants at risk of harm (and, if requested by t he
                   League Operator or the Team Operator, shall deliver a complet e and copy of a certificat e executed by such
                   medical doctor to such requesting Party confirming the same). The Player acknowledges and agrees that the
                   League Operator (i) and Team Operator will have no obligation to independently determine whether t here
                   are any physical, or mental health issues t hat may affect the Player's participation in any Event, (ii) shall have
                   the right to arrange, and th e Player shall provide the Player's reasonable cooperation in respect of, an
                   examination by a medical doctor nominated by the League Operator in order to support the determination
                   or certificate of any medical doctor presented to the League Operator; (c) other t han t he PGA Tour, he is not
                   a member of any trade union, workers association or guild or any similar body (and the Player's membershipin
                   the PGA Tour does not and shall not int erf ere with or abrogate the Player's obligations in t his Agreement or
                   any ot her League Documents); (d) he is eligible to travel t o and to work in each country where Events are
                   held (as shall be notified to Player by the Team Operator or t he League Operator at least 30 days before the
                   start of each Season); (e) he understands that Content will be created and used that includes the Player, and
                   the disclosure of personal or other informat ion about t he Player in connect ion w ith the Tournament and the
                   advertising, promotion and publicity t herefor; (f) except as set out in Schedule 4, as of each of the Effective
                   Date, t he Exercise Dat e and the Designation Date that, at all times commencing as of t he Exercise Date and
                   thereafter during the Term (i) t he Player exclusively owns and ot herwise controls the Player Identification
                   and is entitled to grant the League Operator the licenses and other rights granted in t his Agreement, and t he
                   Player has not (and prior to the Exercise Date will have not), nor has any Person acting by or on behalf of the
                   Player (and prior to t he Exercise Date no such Person will have), granted any of such rights to any other
                   Person, (ii) other than as set out in Schedule 4, the Player is not party to or otherwise bound by any Conflicting
                   Contract, and to the extent the Player was previously bound by a Conflicting Contract, the Player has caused
                   such Conflicting Contract to be terminated as of the Effective Dat e without any liability or obligation of the
                   League Operator, the Team Operator or any of their respective Affiliat es, (iii) t he use by the League Operator
                   and its Affiliates (or its or t heir sublicensees, which may include the Team Operator) of the Player
                   Identification in accordance with t his Agreement will not infringe the rights (including Intellectual Property
                   rights) of any t hird party, (iv) no t hird party of any kind is entitled to any fee or commission or similar payment
                   in connection with t he execution and performance of this Agreement by the Player other than any such fee
                   or commission that will be paid in full by the Player.

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            8.      The Player agrees that if any representation or warranty made by the Player in this Agreement fails to be true
                    in any respect or if the Player breaches any provision of this Agreement, then without prejudice to any other
                    remedies, the Player may be disqualified from participating in any Tournament and/or from receiving any
                    other payment, prize or award which the Player or the Team Operator would otherwise have received
                    pursuant to this Agreement and/or may be removed from the Team, and the League Operator and the Team
                    Operator shall each be entitled to make any announcement or provide any explanation as they in their
                    absolute discretion decide concerning the same.
            9.      Notices. All notices and other communications delivered under this Agreement shall be in writing and shall
                    be deemed duly given on (a) the delivery date if delivered personally, (b) the delivery date if sent by email by
                    5:00 p.m. Eastern time on a Business Day or, if not, on the next Business Day, (c) the first Business Day
                    following the date of dispatch if delivered via a next-day service by a recognized next-day courier service, or
                    (d) the earlier of confirmed receipt or the fifth Business Day following the date of mailing if delivered by
                    registered or certified mail, return receipt requested, postage prepaid. All notices under this Agreement shall
                    be delivered to the addresses set out below or such other address as a Party may in writing designate as its
                    address for service of notices under this Agreement:
                      (i)




                      (ii)
                     (iii)




            10.     Approvals. Where any reference is made to the requirement for any approval or consent under this
                    Agreement then such approval or consent must be in writing to be effective and, in the case of any League
                    Operator Approval, may be given or w ithheld at the League Operator's discretion
            11.     Interpretation. Reference in this Agreement to a Section, Exhibit, Schedule or Annex such reference shall be
                    to a Section, Exhibit, Schedule or Annex of this Agreement unless otherwise indicated. The table of contents
                    and headings contained in this Agreement or in any Exhibit, Schedule or Annex are for convenience of
                    reference purposes only and shall not affect in any way the meaning or interpretation of this Agreement. All
                    words used in this Agreement will be construed to be of such gender or number as the circumstances require.
                    Any capitalized terms used in any Schedule or Appendix but not otherwise defined therein shall have the
                    meaning as defined in this Agreement. All Schedules and Annexes annexed hereto or referred to herein are
                    hereby incorporated in and made a part of this Agreement as if set forth herein. The word "including" and
                    words of similar import when used in this Agreement will mean "including, without limitation," unless
                    otherwise specified. The term "or" is not exclusive. The word "will" shall be construed to have the same
                    meaning and effect as the word "shall." Other than as provided for in the definition of "Schedule of
                    Exceptions," any reference to any contract is a reference to such contract as it may be amended, modified,
                    restated or otherwise supplemented from time to time. References to days mean calendar days unless
                    otherwise specified. Time is of the essence with respect to the performance of obligations under this
                    Agreement. Any reference in this Agreement to "$" or "Dollars" shall mean United States Dollars, and unless
                    otherwise specified herein, all payments made in accordance with this Agreement shall be made in United
                    States Dollars. References to the "termination" of this Agreement shall include its termination for any reason
                    or expiry



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             12.     Releases/Affirmations.(a)The Player affirms that this Agreement and minimum compensation designated by
                     the League Operator and other policies applicable to Players and Caddies are mandated solely to ensure that
                     the League is competitive and the Team is at all times operated in conformity with the League's standards
                     and League attributes known to and desired by the public and associated with the Marks. (b)The Player
                     acknowledges that the nature of Events involves certain risk such as the chance of various injuries and/or
                     medical conditions, being struck by golf balls, exposure to extreme weather of any kind, disease or pandemics
                     (including COVID-19 or other similar diseases), confirms that he is voluntarily participating in Events and
                     agrees to assume any and all such risks. (c) On behalf of the Player and the Releasing Parties, the Player
                     unconditionally and irrevocably agrees, other than in as provided in paragraph (d) below to release, indemnify
                     and hold harmless the Released Parties in respect of any loss, damage, cost or expense suffered or incurred
                     by the Player, by any of the Releasing Parties or by the Released Parties in connection w ith t he Player's
                     preparation for, participation and appearance in any Event, or activities associated with any Event, including
                     the Exploitation of any Content, except where such loss, damage, cost or expense is suffered or incurred as a
                     result of a breach of this Agreement or any of the League Documents, or is otherwise caused by the gross
                     negligence or Willful Breach of a League Document, by any of the Released Parties. (d) On behalf of the League
                     Operator and its Affiliates, the League Operator unconditionally and irrevocably agrees to release the Player
                     in respect of any loss, damage, cost or expense to the extent suffered or incurred by the League Operator or
                     its Affiliates arising directly out of any item expressly set out in Schedule 4 provided such release shall not
                     apply (a) to any loss, damage, cost or expense suffered or incurred by the League Operator or its Affiliates
                     arising out of any breach or inaccuracy of any representations, warranties, covenants or agreements made
                     by the Player in any League Document and (b) in the event of any breach by the Player of his obligations in
                     this Agreement to wear the Team Apparel. Nothing in this Section shall operate to release liability for death
                     or personal injury arising as a result of negligence.
             13.     Third-Party Beneficiaries. Except as expressly provided, including nothing herein is intended to or shall confer
                     upon any Person other than the Parties and their respective successors and permitted assigns any legal or
                     equitable right, benefit or remedy of any nature under or by reason of this Agreement.
             14.     Entire Agreement. The League Documents (including all Schedules and Annexes thereto) constitute the entire
                     agreement, and supersede all prior written or oral agreements or arrangements and understandings between
                     the Parties with respect to the subject matter hereof and thereof. No Party has re lied on any representation
                     or warranty in entering into this Agreement save is set out in this Agreement.
             15.     Assignment. Other than in respect of any Designation and as set out below, neither this Agreement nor any
                     of the rights, interests or obligations under this Agreement may be assigned or delegated, in whole or in part,
                     by operation of law or otherwise, by any Party without the prior written consent of each other Party, and any
                     such assignment without such prior written consent shall be null and void . The League Operator may assign
                     any of its rights or obligations hereunder by written notice to the other Parties but shall rema in primarily
                     liable if such Affiliates fa ils to perform any obligation so assigned to it.
             16.     Governing Law/ Wa iver of Jury Trial This Agreement and all disputes or controversies arising out of or relating
                     to this Agreement or the transactions contemplated hereby, whether arising in contract or in tort, shall be
                     governed by, and construed in accordance with, the Laws of the State of New York, without regard to the
                     Laws of the State of New York governing conflicts of law or the Laws of any other jurisdiction that might be
                     applied because of the conflicts of laws principles of any state. TO THE EXTENT PERMITTED BY APPLICABLE
                     LAW, EACH OF THE PARTIES TO THIS AGREE M ENT HEREBY IRREVOCABLY WAIVES ALL RIGHT TO A TRIAL BY
                     JURY IN ANY LITIGABLE ACTION (AS DEFINED HEREIN), OR ANY OTHER DISPUTE.
             17.     Dispute Resolution. (a) Any dispute, claim or controversy arising out of or relating to this Agreement or the
                     breach, termination, enforcement, interpretation or va lidity thereof (including the determination of the
                     scope or applicability of t his agreement to arbitrate) (a "Dispute"), shall be det ermined by arbitration in New
                     York, New York or any other location determined by the League Operator, before one (1) arbitrator; provided,
                     however, that in no event shall this paragraph apply to any dispute or claim arising out of or relating to the
                     League Regulations, the Team Rules and Policies or the breach, termination, enforcement, interpretation or
                     validity thereof, which shall, subject to the provisions of the League Regulations and the Team Rules and
                     Policies, be resolved by the League Operator in its sole and absolute discretion as the owner and o perator of
                     the League. The Parties party to any such Dispute shall make a good faith effort to agree upon an arbitrator.
                     If no agreement can be reached, JAMS shall send such Parties no fewer than 5 arbitrators who are available

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                    to hear t he matter w ithin the time frame set forth in t his Agreement. If no agreement can be reached, each
                    such Party may remove 2 names on such list of arbitrators, and shall rank the rema ining arbitrator candidates
                    in order of preference. The arbitrator with the highest composite ranking shall be appointed t he arbitrator in
                    the case. The arbitration shall be administered by Judicial Arbitration and Mediation Services ("JAMS")
                    pursuant to its Comprehensive Arbitration Rules and Procedures t hen in effect, except to t he extent they are
                    inconsistent with the express procedures set forth in this Agreement or with those procedures that are
                    required by applicable Law as a prerequ isite to a valid and enforceable agreement to arbitrate claims under
                    applicable Law . The Parties specifically agree and recognize that the procedures and remedies set forth by
                    JAMS Emergency Relief (Rule 2) apply to Disputes requiring immediat e resolution, and t hat t he Parties will
                    make a good faith effort to promptly and expeditiously resolve such claims once JAMS Rule 2 is invoked. The
                    Federal Arbitration Act shall govern the interpretation and enforcement of such arbitration proceeding. The
                    arbitrator shall apply the Law of the State of New York, pursuant to paragraph 16. (b) The provisions of this
                    paragraph shall not apply to any dispute arising under the League Regulations or Team Rules and Policies,
                    which separately bind t he League Players as set out in t his Agreement. The Parties agree and acknowledge
                    that the dispute resolution procedures set forth in the League Regulations or Team Rules and Policies (as may
                    be in effect from t ime to time) are reasonable, have been specifically bargained for by the Parties, are an
                    integral part of the transact ions contemplated by this Agreement and were specifically taken into account in
                    granting the rights hereunder and determining the amounts and other consideration payable hereunder, and
                    that, without such agreement, the Parties would not otherwise enter into this Agreement. The Parties further
                    acknowledge and agree that t he League Operator or Team Operator, as the case may be, may, in accordance
                    with the League Regulations or Team Rules and Policies, as t he case may be, designate one or more
                    arbitrators, including the Commissioner or Chief Executive Officer of the League, to resolve disputes arising
                    under the League Regulations or Team Rules and Policies, as applicable, and that the determination of any
                    such arbitrator or arbitrators shall be binding on the Players in accord ance with t he terms of the League
                    Regulations or Team Rules and Policies, as applicable. For the avoidance of doubt, in the event that a dispute
                    arises under the League Regulations or Team Rules and Policies, under no circumsta nee shall such dispute be
                    determined or settled in accordance with the provisions of this paragraph. (c) To t he extent permitted by
                    applicable Law, t he Parties agree that arbit ration as provided in this Section shall be the exclusive and binding
                    remedy for any Dispute and will be used instead of any court act ion, which is hereby expressly waived, except
                    for any legal right a Party may have to file an administrative claim with an administrat ive agency such as the
                    National Labor Relations Board, U.S. Department of Labor or the Equal Employment Opportunity Commission.
                    (d) The Parties agree that they will attempt, and they intend t hat they and the arbitrator should use t heir best
                    efforts in that attempt, to conclude the arbitration proceed ing and have a final decision from the arbitrator
                    within 150 days from the date of selection of the arbitrator; provided, however, that the arbitrator shall be
                    entit led to extend such 150-day period one or more t imes t o t he extent t he arbitrator deems it necessary to
                    adjudicate the claim. The arbitrator shall promptly deliver a written and reasoned decision with respect to
                    the Dispute to each of the Parties, who shall prom pt ly act in accordance therewith. Each party to such
                    arbitration agrees that any decision of the arbitrator shall be final, conclusive and binding. It is specifically
                    understood and agreed t hat any Party may (i) enforce any award rendered pursuant to the arbitration
                    provisions of t his Section, or (ii) seek injunct ive re lief, by bringing suit in any court having jurisdiction pursuant
                    to paragraph 18. The arbitrat or may grant any individual remedy or relief that would have been available to
                    the Parties had the matter been heard in court on an individual basis, including injunctive or other forms of
                    equitable relief to any Party to such arbitration t hat prevai ls in any such arbitration. (d) Each Party shall
                    maintain strict confidentiality with respect to all aspects of any arbitration commenced pursuant to t his
                    Agreement, including the documents and testimony and any transcripts of t hat testimony, and shall not
                    disclose t he fact, conduct or outcome of t he arbitrat ion to any non-parties or non-participants, except to t he
                    minimum extent required by applicable La w or to t he extent necessary to recogn ize, confirm or enforce the
                    final award or decision in the arbitration, without League Operator Approval and the prior written consent of
                    the Player. This confident iality provision is not intended to hinder any Party's ability to engage in discovery
                    or otherwise prepare for the arbitration hearing, including gathering information from or contacting
                    witnesses. The arbitrator shall maintain t he confidentiality of the arbitration and shall have the authority to
                    make appropriate rulings to safeguard the confidentiality or make disclosures as provided by La w. (e) Each
                    Party acknowledges and agrees that: (i) t he arbitrator will not have authority or jurisdiction to hear t he

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                     arbitration as a class action or collective action proceed ing; (ii) the arbitrator will not have authority to
                     consolidate, join or consider claims of different individuals or entities in one proceeding, other than cross or
                     counter-claims as between the individual Player and the League Operator asserted on a non -class or non-
                     collective action basis; (iii) there is no right or authority for any Dispute to be arbitrated, adjudicated, decided
                     or resolved t hrough court proceedings on a class action or collective action basis or to utilize class action or
                     collective action procedures; and (iv) the League Operator and the Player will not have the right to participate
                     as a class or collective action representative, or as a member or claimant of any class or collective act ion for
                     any dispute or controversy. UNDER NO CIRCUMSTANCES DOES THE PLAYER, THE TEAM OPERATOR OR THE
                     LEAGUE OPERATOR AGREE TO CLASS OR COLLECTIVE ACTION PROCEDURES IN ARBITRATION OR COURT
                     PROCEEDINGS OR THE JOINDER OF CLAIM S IN ARBITRATION OR COURT PROCEEDINGS ("CLASS ACTION
                     WAIVER"). Disputes regard ing th e scope, validity and enforceability of this Class Action Waiver may be
                     resol ved only by a civil court of competent jurisdiction and not by an arbitrator. To t he ext ent any portion of
                     the Class Action Waiver is found to be unenforceable, that portion shall be severable and the remainder shall
                     be enforced, in accordance with paragraph 21. In any case in which the Dispute is filed or pursued as a class
                     or collective action and all or part of the Class Act ion Waiver is found to be unenforceable: (i) the individual
                     claims asserted by claimant in the class or collective action shall be severed and shall proceed individually in
                     arbit ration; (ii) the class or collective action claims asserted by claimant shall be stayed in their entirety
                     pending t he outcome of t he arbitration of individual claims; and (iii) upon conclusion of the arbitration, the
                     class or collective claims must be lit igated in a civil court of a competent jurisdiction. (f) Each Party
                     acknowledges and agrees that, to the extent permitted by applicable Law: (i) the arbitrator will not have
                     authority or jurisdiction to hear the arbitration as a private attorney general or representative act ion
                     proceeding; (ii) the arbitrator will not have authority to utilize private attorney general or re presentative
                     action procedures; (iii) there is no right or au t hority for any dispute to be arbitrated, adj udicated, decided or
                     resol ved through court proceedings on a private attorney general or representative action basis or to utilize
                     private attorney general or representative action procedures; and (iv) the League Operator and the Player
                     will not have the right to participate as a privat e attorney general or representative action representative, or
                     as a member or claimant of any private attorney general or re presentative action for any Dispute. TO THE
                     EXTENT PERMITTED BY APPLICABLE LAW, EACH PARTY EXPRESSLY WAIVES ANY PRIVATE ATTORNEY GENERAL
                     OR REPRESENTATIVE ACTION PROCEDURES IN ARBITRATION OR COURT PROCEEDINGS (TH E
                     " REPRESENTATIVE ACTI ON WAIVER"). Disputes regarding the scope, validity and enforceability of this
                     Representative Action Waiver may be resolved only by a civil court of competent jurisdiction and not by an
                     arbit rator. To the extent any portion of the Representative Action Waiver is found to be unenforceable, that
                     portion shall be severable and the remainder shall be enforced. To t he extent permitted by applicable Law,
                     in any case in which the Dispute is filed or pursued as a private attorney general or representative action and
                     all or part of the Representative Action Waiver is found to be unenforceable: (i) the individual claims asserted
                     by claimant in the action shall be severed and shall proceed individually in arbitration; (ii) the private attorney
                     general or representative action claims asserted by claimant shall be stayed in t heir entirety pending the
                     outcome of t he arbitration of individual claims; and (iii) upon conclusion of the arbitration, the private
                     attorney general or re presentative action claims must be litigated in a civil court of a competent jurisdiction.
                     (g) The cost of any arbitration conducted pursuant to this Agreement will be paid equally by the League
                     Operator and by the Player, except to t he extent required by applicable La w. The Parties will each bear their
                     own costs for legal representation, discovery, deposition, expert witnesses, and other legal costs ordinarily
                     borne by a party in litigation to the extent permitted by applicable Law; provided, however, that the arbitrator
                     shall, in addition to any other relief that may be awarded, have the authority to issue an award of costs and
                     fees to the prevailing Party to the same extent available in court.
             18.     Submission to Jurisdiction. Each of the Parties irrevocably agrees that any Dispute brought by any other Party
                     or its successors or assigns that is a request by a Party for temporary or preliminary injunctive relief pursuant
                     to paragraph 17 pending arbitration in accordance with applicable Law (a "Litigable Action"), shall be brought
                     and determined as required according to the applicable rules of venue and jurisdict ion, in the New York state
                     courts in the borough of Manhattan, or the courts of the United States of America for the Southern District
                     of New York, and appellate courts thereof, and each of the Parties hereby irrevocably submits to the exclusive
                     jurisdiction of t he aforesaid courts for itself and with respect to its property, generally and unconditionally,
                     with regard to any such Dispute. Each of the Parties agrees not to commence any Dispute re lating thereto

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                     except in t he courts described above in New York, other t han actions in any court of competent jurisdiction
                     to enforce any judgment , decree or award rendered by any such court in New York as described herein. Each
                     of t he Parties further agrees that written not ice as provided herein shall constitut e sufficient service of
                     process and the Parties f urther waive any argument that such service is insufficient. Each of t he Parties hereby
                     irrevoca bly and unconditionally waives, and agrees not t o assert, by way of moti on or as a defense,
                     counterclaim or otherwise, in any action or proceeding arising out of or relating to this Agreement or the
                     t ransacti ons cont emplated hereby, (x) any claim that it is not personally subject to t he jurisdiction of the
                     court s in New York as described herein for any reason, (y) t hat it or its pro perty is exempt or immune from
                     jurisdiction of any such court or from any legal process commenced in such courts (whet her through service
                     of notice, attachment prior to judgment, attachment in aid of executi on of judgment , executi on of judgment
                     or otherwise) and (z) that (i) t he suit, action or proceed ing in any such court is brought in an inconvenient
                     forum, (ii) the venue of such suit, action or proceeding is impro per or (iii) this Agreement, or t he subject
                     matter hereof, may not be enforced in or by such courts.
             19.     Enforcement of Award. The Parties recognize that t he Federal Arbitrati on Act governs the enforcement of
                     any arbitral award issued pursuant to paragraph 17. Further, if any Party to t he arbitrat ion is not a United
                     Stat es citi zen, t hat Party explicitly recognizes and agrees that any enforcement of the arbitra l award will be
                     governed by Chapter 2 of the Federal Arbitrat ion Act and t he New York Convention on the Recognit ion and
                     Enforcement of Foreign Arbitral Awards, 9 U.S.C. §§ 201-208).
             20.     Enforcement. Any and all rights and remed ies provided herein, in the League Regulations and the Team Rules
                     and Policies will be deemed cumulative wit h, and not exclusive of, any ot her right or remedy conferred hereby
                     or by t he League Regulati ons, the Team Rules and Policies or by Law or equity, upon such Party, and the
                     exercise by a Party of any one right or remedy (including the election to pursue an injunction or specific
                     performance) shall not restrict, impair or ot herwise limit a Party from seeking to exercise such ot her rights or
                     obt ain such other remed ies and will not preclude t he exercise of any ot her right or remedy. The Parties agree
                     that irreparable damage wou ld occur in t he event that any of the provisions of t his Agreement were not
                     performed in accordance with t heir specific t erms or were otherwise breached. Accordingly, each of the
                     Parties shall be entitled t o seek specific performance of the terms hereof, including an injunction or
                     injunctions to prevent breaches of this Agreement and t o enforce specifically the t erms and provisions of this
                     Agreement, this being in additi on t o any other remedy t o which such Party is entitled at law or in equity. Each
                     of the Parties hereby f urther waives (a) any def ense in any act ion for specific performance that a remedy at
                     law wou ld be adequat e, and (b) any requirement under any applicable Law t o post security as a prerequisite
                     to obt aining equit able rel ief .
             21.     Severability. Whenever possible, each provision of this Agreement shall be interpreted in such manner as t o
                     be effective and valid under applicable Law, but if any provision or portion of any provision of this Agreement
                     is held to be invalid, illegal or unenforceable in any respect under any applicable Law or rule in any jurisdicti on,
                     such invalidity, illegality or unenforceability shall not affect any other provision or portion of any provision in
                     such jurisdicti on, and this Agreement shall be reformed, construed and enforced in such jurisdict ion as if such
                     invalid, illegal or unenforceable provision or portion of any provision had never been cont ained herein. Upon
                     such a determinat ion, the Parties shall negotiate in good faith t o modify t his Agreement so as to effect the
                     original intent and pu rpose of the Parties as closely as possible so that the transactions contemplated hereby
                     w ill be consummated as originally cont emplat ed to t he fullest extent possible.
             22.     Counterparts . This Agreement may be execut ed in two or more count erparts, all of which shall be considered
                     one and t he same instrument and shall become effective when one or more counterparts have been signed
                     by each of t he Parties and delivered t o each ot her Party. A signed copy of t his Agreement delivered by email
                     (including .pdf or any electronic signat ure complying w ith t he U.S. federa l ESIGN Act of 2000, e.g.,
                     www.docusign.com), or ot her means of electronic t ransm ission will be deemed t o have the same legal effect
                     as delivery of an original signed copy of this Agreement.
             23.     No Presumption Against Drafting Party. Each Party acknowledges that it has been represent ed by counsel
                     in connection w ith this Agreement and the transacti ons and other instruments and agreement s contemplated
                     by this Agreement. Accordingly, any ru le of Law or any legal decision t hat wou ld requi re interpret ati on of
                     any cla imed ambiguiti es in this Agreement or any instrument delivered in connection herewith against t he
                     drafting Party has no application and is expressly waived.



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             24.     No Recourse . Notwithstanding anything that may be expressed or im plied in this Agreement, the Parties
                     covenant, agree and acknowledge that no recourse under this Agreement or any documents or instruments
                     delivered in connection with t his Agreement shall be had against any Non-Recourse Party, whether by the
                     enforcement of any assessment or by any legal or equitable proceeding, or by virtue of any statute, regulation
                     or other applicable Law, it being expressly agreed and acknowledged that no personal liability whatsoever
                     shall attach to, be imposed on or otherwise be incurred by any Non-Recourse Party, as such, for any obligation
                     of any Party under t his Agreement (including any payment obligation under this Agreement), or any part
                     thereof, or any documents or instruments delivered in connection with this Agreement for any claim based
                     on, in respect of or by reason of or otherwise related to such obligat ions or their creation, except to the extent
                     that any such Person is Party to and, by its terms, is individually liable thereunder.
             25.     Nature of Relationship. It is not the intention of the Parties (whether prior to, on or following the Designation
                     Date) to create, by virtue of this Agreement, any employment relationsh ip, trust, partnership, joint venture
                     or franch ise between the Player and the Team Operator, the League Operator, or any of their respective
                     Affiliates, to make them legal representat ives or agents of each other or to create any fiduciary relationship
                     or additional contractual relationship among them except as specifically provided in this Agreement or as
                     otherwise required under applicable Law.
             26.     Player Guarantee. If at any time the Player is re presented by any third party, then the Player shall cause such
                     third party to comply with all applicable obligations in this Agreement and to not take (or fail to take) any
                     action which would cause the Player to be in breach of this Agreement. The Player shall be responsible for
                     any act (or failure to act) of any of such third party acting on its behalf in breach of this Section.
             27.     Definitions. The following terms shall have the following meanings in this Agreement:
                     Advertising Rights: all rights of any kind throughout the world to Exploit any advertising of any kind in relation
                     to the advertising, marketing or Promotional Activities of the League, each Event and each League Team
                     (including the right to sell any advertising that occurs before, during or after the Exhibition or Exploitation of
                     any Content) and, for this purpose, to Exploit, Exhibit and otherwise use in any manner and create derivative
                     works of all Content, in each case by any means or through any media now known or subsequently developed,
                     including via (a) any Team Website, t he League Website and any Other Team's website and all Social M edia
                     and other present and future digital channels, together with those of any Official Partner; (b) broadcast,
                     television, print and online advertising; (c) billboards, posters, signs and displays; (d) product catalogues and
                     packaging; (e) press releases, newsletters and e-alerts; and (f) any other advertising or promotional materials
                     developed by the League Operator, the Team Operator or any Other Team Operator or League Rights Holder
                     from time to time.
                     Affiliate: with respect to any Person, any other Person that directly, or indirectly through one or more
                     intermediaries, controls, is controlled by, or is under common control with, such first Person (it being agreed
                     that the Team Operator is not an Affiliate of the League Operator and its Affiliates.
                     Ancillary Tournament Activity: in relation to any golf tournament, any activity organized by any Person in
                     connection with such tournament which takes place shortly before, during or shortly after such tournament
                     including any press conference, media events, opening/closing ceremonies, pro-am, presentations, prize-
                     givings and interviews, promotional activity (such as sponsor activations, lunches, dinners, photoshoots and
                     other activities) any other official events in relation to such tournament which take place shortly before,
                     during or shortly after it .
                     Ancillary Content: any Content created in relation to the League or any Event other than Tournament Content
                     and Team Content whether the same is created by the Player, any Caddie Device or otherwise.
                     Bett ing Platform: any website, application, OTT media service or other digital platform hosting sports betting
                     or gambling content.
                     Business Day: any day (other than a Saturday or Sunday) on which banks are generally open for business in
                     New York.
                     Caddie: means the Player's caddie during any Event and the contract between the Player, the League
                     Operator (if appropriate) and such caddie for any Event shall be a Caddie Contract.
                     Caddie Device: any device of any kind to record Data or other information (whether audio, audio-visu al or
                     otherwise) worn or required to be worn by any Caddie during any Event.
                     Code: t he Internal Revenue Code of 1986, as amended from time to time. All references in this Agreement
                     to sections of the Code shall include any corresponding provision or provisions of succeeding Law.

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                   Commercial Rights: collectively, the Digital Rights, Film Rights, Games Rights, Licensing Rights, Merchandising
                   Rights and Gaming Rights.
                   Commitment Fee: the sums referred to in Schedule 1.
                   Competition Day: any ofthe days on which a Tournament is scheduled to take place.
                   Confidential Information : all information in whatever form relating to this Agreement or to the business or
                   affairs of one Party and its Affiliates and their commercial partners, in each case, as may be communicated
                   to or which otherwise comes to be known by another Party in connection with this Agreement.
                   Content: any document, content, photograph, audio or video recording, material, footage, feed, statistics,
                   records, data (including any Data), type of information or experience in each case of any kind capable of being
                   captured or recorded by any means in any form, format or medium wha tsoever in each case whether now
                   existing or developed in the future including Tournament Content, Team Content, and Ancillary Content, and
                   any content and footage created and/or generated by or on behalf of any League Player or Caddie (including
                   by a Caddie Device) as part of, re lating to, or in conjunction with any League Activity or Tournament Play.
                   Content Distribution Rights: the exclusive worldwide right at any time to Exhibit and otherwise Exploit any
                   Content including Tournament Content, Team Content, and/or Ancillary Content (whether on a live, delayed
                   or on-demand basis, as highlights or clips, or otherwise), in whole or in part, by any and all means or media
                   of any kind whatsoever now known or subsequently developed (including via the Commercial Rights) and via
                   any device of any kind including all forms of television, the internet and whether scheduled or on demand
                   and in whatever format (whether linear, OTT, interactive, virtual rea lity, augmented reality, hologram, non-
                   fungi ble token, free to air, pay or otherwise) and in each case the right to appoint or engage a Content
                   production company in relation to any of the same and a "Distributor" is any Person to which any Content
                   Distribution Rights are granted, licensed, assigned or otherwise transferred at any time.
                   Content Guidelines: the guidelines published by the League Operator in relation Content (as amended from
                   time to time).
                   control: the possession, directly or indirectly, of the power to direct or cause the direction of the management
                   and policies of a Person, whether through the ownership of voting securities, as trustee or executor, as
                   general partner or managing member, by contract or otherwise, including the ownership, directly or
                   indirectly, of securities having the power to elect a maj ority of the board of directors or similar body governing
                   the affairs of such Person and "controlled by" and "under common control w ith," shall be construed
                   accordingly. For the avoidance of doubt, a limited partnership shall be deemed to be "controlled" by its
                   general partner.
                   Covered Golf Activity: any professional golf tournament (including any related Ancillary Tournament Activity)
                   and any other golf-related event or practice other than any League Activity and Excluded Events.
                   Data: all data, statistics or information (a) used to analyze or relating to the Player's condition or performance
                   during any Event, including that generated from the use of devices to measure and record swing speed, ball
                   flight, launch angles, energy transfer, heart rate, adrenalin levels and other biometric data and other
                   statistics, data or information, or (b) captured or stored in relation to each Event or the League, such as fan -
                   and/or consumer-related dat a, and all rights in relation to such Data shall be "Data Rights".
                   Default: any material breach of this Agreement by the Player at any t ime during the Term.
                   Digital Rights: the exclusive worldwide rights of any kind the right to own and Exploit all digital rights (whether
                   now known or subsequently developed) in any way whatsoever in re lation to the League or any Event,
                   including in relation to the League and Team Websites, League Teams, all Social Media and other digital
                   channels, in each case whether by way of selling advertising, Licensed Products or other merchandise, goods
                   or services, Exploiting Content or in any other means whatsoever and in each case whether now existing or
                   developed or thought of in the future.
                   Effective Date: the date set out at the start of this Agreement.
                   Event: collectively, each Tournament and any League Activity during any Tournament Week.
                   EventCos: any company designated at any time by the League Operator to host or otherwise manage any
                   Event (not being League IP ManagementCos).
                   Excluded Events: the Olympic Games, the Ryder Cup and the Presidents Cup.
                   Exhibit: t o transmit, broadcast, distribute, display or exhibit and "Exhibition" shall be construed accordingly.




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                   Exploit : in relat ion to any rights, to creat e, commercialize, exercise or ot herwise exploit such rights on a
                   worldwide basis by any means whatsoever including t hrough any licensing or sublicensing of such rights to
                   one or more third persons, whether on an exclusive or non-exclusive basis.
                   Film Rights: all rights of any kind whatsoever to make, Exhibit, or Exploit or otherwise use any film, motion
                   pict ure or ot her audiovisual recording (of whatever length and whether in documentary-style, purely fictional
                   or otherwise) based in whole or in part on the Content, and sequels or prequels thereto and remakes thereof
                   and all other types of derivative works based thereon, intended for Exploitation in any medium now or
                   hereafter devised (including, by way of illustration only, any form of theatrical, television, home video, digital,
                   internet, wireless or other computer assisted or new media Exploitation).
                   Film Rights: all rights of any kind whatsoever to make, Exhibit or Exploit any film or ot her recording relating
                   to the League and any League Team including by using any Tournament Content or Team Content.
                   Fiscal Year: subject to Internal Revenue Code section 706, the period selected or determined by the League
                   Regulations in accordance with applicable Law.
                   Fit and Proper Person : has the meaning in the League Regulations.
                   Force Majeure Event: any cause, event or circumstance affecting the performance of t his Agreement arising
                   beyond the reasonable control of the Party affected including terrorist action or the threat thereof, civil
                   commotion, disruption due to general or local elections, invasion, war, threat or preparation for war, fire,
                   explosion, storm, flood, earthquake, any other such natural physical disaster, epidemic or pandemic
                   (including COVID-19) and any legislation, regulation or ruling of any government, court or other such
                   competent aut hority save that for the avoidance of doubt the int roduction of any Legal Requirements, or any
                   other rules or requirement s, in each case other than those of a Governmental Authority, or the Player's
                   contractual or membership obligations to anot her Party or Person, shall not constitute a Force Majeure Event.
                   Full Season: a Season shall be a Full Season if the Pia er full sati sfies his Pia in Commitment under Section




                   Fundamental Default: shall occur if t he Player (a) commits Gross Misconduct, or (b) is suspended
                   permanently, indefinitely or for 14 or more Tournaments in the aggregat e under the League Regulat ions, or
                   (c) suffers any Insolvency Event, or (d) ceases to be a Fit and Proper Person, or (e) is ineligible to participate
                   in the League under the League Regulations, or (f)




                   Games Rights: t he right to Exhibit and Exploit the Content or any Player Identification, in whole or in part, in
                   any interactive video game, including virtual reality, augmented reality, and mixed reality experiences, skill
                   development, role play, and/or fantasy or real simulat ion, whether played or engaged in alone, or with
                   anot her person, or in a social community or net work, and whet her by computer, on-line means, via a console,
                   cartridge or computer peripheral device, via telephony or a mobile device, or a proprietary gaming tool,
                   device or product.
                   Gaming Rights: means t he right: (a) to Exhibit any Content, any other cont ent of any kind and other Data to
                   facilitate gambling or betting in relation t o any Tournament or ot her Covered Golf Act ivity, (b) to include
                   within the Transmission of any Content and other Data any facility for viewers to gamble or bet on any
                   element of Tournament Play or any Covered Golf Activity play during the such Transmission, (c) t o Exhibit
                   Content and ot her Data in licensed betting premises; (d) t he right to provide Content and ot her Data to
                   licensed bookmakers; (e) to use official scoring data relating to Tournament Play or the play of any other
                   Covered Golf Act ivity on any Betting Platform; and (f) to operate any competition, quiz, fantasy league,
                   contest or ot her game using any Content and/or the Marks.

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                    Golf-Related Injury: an injury directly resulting from playing golf on condition t hat (a) the injury did not occur
                    from any golf in violation of the Player's obligations under this Agreement (b) the Player is not engaged in
                    conduct unbecoming a professional (as determined in accordance with the League Regulations) and (c) the
                    Player is in fact injured and such injury prevents t he Player from competing in a Tournament as supported by
                    any certified medical evidence required by the League Operator and in case of doubt an independent doctor
                    shall be appointed by the Player and League Operator to determine the extent of an such injury.
                    Governmental Authority: any United States or non-United States federal, national, supranational, state,
                    provincial, local or similar government, governmental, regulatory or administrative authority, branch, agency
                    or commission, or any court, tribunal, or arbitral or judicial body (including any grand jury) of any of the
                    foregoing Persons excluding all laws, statutes, rules, regu lations, permits, licenses, authorizat ions, directors
                    or requirements of any sports federation or other similar au t hority.
                    Gross Misconduct : any serious or persistent action (or attempted action) or omission by the Player which the
                    League Operator determines, in its reasonable discretion, to be gross misconduct including (a) any t heft or
                    fraud; (b) any statement by or on behalf of t he Player which disparages, is injurious to t he reputation of or
                    which could be expected to cause harm to any Relevan t Person, (c) intentional material damage to any
                    property belonging to the Team Operator, the League Operator or which otherwise relates to the League; (d)
                    any use or possession of or trafficking in a Prohibited Su bstance, (e) incapacity t hrough alcohol affect ing the
                    Player's performance at an Event , (0 any material breach of t his Agreement and/or the League Regul ations
                    which, if capable of remedy, has not been remedied t o t he Team Operator's and t he League Operator's
                    satisfaction within 7 Business Days of written request to do so, (g) conviction of any criminal offence
                    anywhere in the world (other t han a motor vehicle-related offence for which t he punishment does not involve
                    a custodial sentence), (h) assault or threat ened assault or causing or attempting to cause bodily harm or (i)
                    any other conduct which results in, or would reasona bly be expected to result in, material and demonstrable
                    harm to the any Relevant Person.
                    Hospitality Rights : the right to organize any concessions, restaurant, bar, catering (or other supply or
                    provision of food and beverage) of any kind, toget her with any related sponsorship, marketing or branding
                    rights.
                    Inso lvency Event : shall occur in respect of a Party t hat is (a) an ind ividual person if they are declared bankrupt
                    or (b) a legal entity if (i) any bona fide petition is presented or any bona fide demand is served on that Party
                    or an order is made or resolution passed for the winding up or bankruptcy of that Party or a bona fide notice
                    is issued convening a meeting for t he purpose of passing any such resolution, (ii) any bona fide petition is
                    presented for an administrat ion order or any bona fide notice of the appointment of or of an intention to
                    appoint an administrator of t hat Party is filed in court or an administration order or interim order is made in
                    relation to that Party, (iii) any administrative or other receiver or manager is appointed of that Party or of all
                    or any material part of its assets and/or undertaking or any ot her bona fide step is taken t o enforce any
                    encumbrance over all or any part of t he assets and/or undertaking of that Party, (iv) any bona fide step is
                    taken by that Party with a view to pro posing any kind of composition, compromise or arrangement involving
                    that Party and any of its creditors, including but not limited to a voluntary arrangement, (v) it ceases to carry
                    on business in the normal course or any event which is similar, equivalent or analogous to t he circumstances
                    in sub-clauses (a) and (b) above occurs in relation to such Party or its assets under any applicable legislation
                    anywhere in the world.
                    Intellectual Property: all intellectual property rights of any kind whatsoever anywhere in the world whether
                    un registered, registered or capable of registrat ion, including copyrights and copyrightable works,
                    trademarks, service marks, trade names, logos, registered designs, and domain names, moral rights, and
                    rights of publicity, privacy and similar rights of any type under the laws or regulations of any governmental,
                    regulatory or judicial authority, and with respect to each of the foregoing, any applications, registrations,
                    renewals, extensions or continuations now or hereafter enforced t hroughout the world .
                    Key Event: t he Summer Olympic Games, t he Masters, the US Open, the Open Championship, the United
                    States PGA Championship, Presidents Cup and/or t he Ryder Cup, in each case provided that such events
                    remain in substantially t he same form and last for t he same period of time as is the case at the Effective Date.
                    Law: any statute, law, ordinance, regulation, rule, code, execut ive order, injunct ion, judgment, decree or
                    order of any Governmental Authority.



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                   League: the professional worldwide golf competition comprising the Regular Tournaments, the Team World
                   Championship and any League Qualification Event (in each case as further described in the League
                   Regulations).
                   League Activity: any activity (excluding Tournament Play) organized by or on behalf of t he League Operator
                   in relation to the League and/or any Event including any Ancillary Tournament Activity, Promotional Activity
                   and Player Draft.
                   League Documents : means this Agreement, each Other Player Participation Agreement, the Services
                   Agreement, the Team Participation Agreement, each Other Team Participation Agreement, the Team
                   Operator Governing Agreements, the League Regulations and each confidentiality agreement (or similar
                   agreement) or other written agreement, arrangement or understanding (including any side letter) executed
                   and delivered by and between, on the one hand, the League Operator and/or its Affiliates and, on the other
                   hand, the Team Operator, any Persons owning equity interests in the Team Operator, the Player and/or any
                   of its or their respective Affiliates or Representatives, as t he case may be, from t ime to t ime.
                   League IP ManagementCos: any company designated by the League Operator to Exploit or otherwise manage
                   the Intellectual Property rights of any League Player.
                   League Marks: all Intellectual Property rights of any kind used from time to time by the League Operator or
                   any of its Affiliates in connection with the League Operator, the League or any Event, including all goodwill
                   associated therewith and/or generated thereby.
                   League Operator: (a) in respect of Events, League Activities and Promot ional Activit ies, or any other
                   obligations (including payment) to or of the "League Operator" hereunder conducted or otherwise taken or
                   omitted to be taken, paid to or payable by, (i) within the USA, US OpCo, and (ii) outside the USA, UK OpCo,
                   and (b) otherwise, League Holdco.
                   League Operator Approval : any written approval requ ired to be obtained from the League Operator or its
                   Affiliates under this Agreement or the League Regulations.
                   League Players: means, collectively, the Player and all Other Players.
                   League Qualification Event: each Tournament at the end of each Season from the end of t he 2023 Season
                   onwards to decide the qualification of certain golfers for the League for the next Season.
                   League Regulations: means all ru les, regulations and guidelines (including any Content Guidelines) published
                   by or on behalf of the League Operator from time to time in relation to the League or in relation to any Season
                   including regarding the participation of League Players in the League, brand guidelines, codes of conduct, and
                   policies relating to anti-doping policies and anti-corru pt ion, as may be modified or supplemented by the
                   League Operator from time to time in its sole and absolute discretion.
                   League Rights: all rights of any kind whatsoever relating to the League or any Event from time to time (other
                   than the Team Rights), including Intellectual Property rights relating to the League and each Event (including
                   rights in the Marks), Advertising Rights, all rights to Content, all Content Distribution Rights, the right to
                   organize and operate the League and every aspect of each Event during each Season, Data Rights, Commercial
                   Rights, Hospitality Rights, Official Partner Rights, Ticketing Rights, Licensing Rights, Merchandising Rights and
                   League Rights Agreement means any agreement or arrangement whereby any Person acquires or is
                   otherwise granted any of the League Rights at any time, such Person being a "League Rights Holder."
                   League Teams: means, collectively, the Team and all Other Teams.
                   League Website: the official League website owned and operated by the League Operator.
                   Legal Requirements: all laws, statutes, rules, regulations, permits, licenses, authorizations, directions and
                   requirements of any Governmental Authority, or sports federation or other authority that may at any time
                   be applicable to this Agreement, the Team Operator, the Team and the operation thereof.
                   Licensed Products: any products, service or merchandise of any kind (a) bearing any one or more of the Marks
                   with or without any other marks of any kind or (b) featuring any Player Identification.
                   Licensing Rights: all rights to sell or license the sale of Licensed Products and/or the grant of any rights by the
                   League Operator in relation to any relevant merchandising or licensing of services re lating to the League.
                   Marks: together, the League Marks and Team Marks.
                   Merchandising Rights: the right to Exploit all goods and services of every kind by any means now known or
                   hereafter devised that are based upon or derived from the Content.




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                   Multi-Player Fundamental Default: shall occur if at any time 4 or more League Players (a) refu se to
                   participate in the League, or (b) participate in a professional golf tournament (other than a Key Event ) during
                   any calendar week in which an Event is scheduled to be played.
                   Non-Recourse Party: any Affiliate of the League Operator, or any former, current or future director, officer,
                   employee, agent, general or limited partner, member, manager, controlling Person, shareholder or equity
                   holder of the League Operator or any Affiliate of the League Operator or any assignee thereof.
                   Official Partner Rights: all sponsorship, marketing, licensing, and suppliership rights in relation to the League
                   and each Event and any Person who is granted any such rights shall be an "Official Partn er" .
                   Other Player: a golfer, other than the Player, who has committed to play in any Tournament or Event from
                   time to time.
                   Other Team: any team of players, other than the Team, operating in th e League under an "Other Team
                   Participation Agreement" or otherwise under the League Regulations.
                   Other Team Operator: any Person other than the Team Operator granted the right to operate any Other
                   Team from time to t ime.
                   Party: a party to this Agreement.
                   Payor Entity: before the Designation Date, the League Operator (unless the League Operator decides that
                   another League Holdco Affiliate should be the Payor Entity), and after the Designation Date the League
                   Operator or the Team Operator unless, and then solely to the extent that the League Operator decides that
                   it or another League Holdco Affiliate should rema in the Payor Entity.
                   Person : an individual, corporation, partnership, limited liability company, limited liability partnership, joint
                   venture, syndicate, person, trust, association, organization or other entity, including any Governmental
                   Authority, and including any successor, by merger or otherwise, of any of the foregoing.
                   Player Draft : the process for selection of League Players and "Draft Date" means the date of any such draft.
                   Player Emergency: any bona fide emergency involving serious illness affecting the Player or his immediate
                   family (being his partner, children, parents or in-laws).
                   Player Identification : all of the Player's personal attributes including his name, nickname, initials, autograph,
                   signature, endorsement, reputation, public persona, voice, video, film portrayal, computer generated or
                   animated portrayal, avatar, caricature, photograph, image, likeness, game play data and statistics, records,
                   biographical information and all Intellectual Property rights in connection wi th such personal attributes
                   belonging to the Player and all beneficial rights and goodwill that subsist in relation to any of the foregoing,
                   including the right to Exhibit, Exploit or otherwise use, or create derivative works based on, any of the
                   foregoing.
                   Prize Money: together, the Individual Prize Money and Team Prize Money.
                   Prohibited Substance: has the meaning set out in the League Regulations.
                   Promotional Activity: any activity of any kind organized by or on behalf of the League Operator, the Team
                   Operator and any Other Team Operator or any League Rights Holder (and any Affiliate of any of the
                   foregoing), to promote the League, any Tournament, any League Player, any League Team, the Team
                   Operator, any Other Team Operator, the game of golf, or any sponsor of any the foregoing and any other
                   activity involving the grant of any League Rights to a League Rights Holder, including any sponsor activations,
                   pro-ams, dinners, photo shoots and Social Media activities.
                   Regular Tourn ament: each Tournament forming part of the League in each Season but excluding each Team
                   World Cham pionship and League Qualification Event.
                   Released Parties: each of the Team Operator, the League Operator, any League Rights Holder or Distributor,
                   all other participants in the League, any participants in a Tournament or Event, and/or any stations that may
                   broadcast the Tournament, sponsors of the Tournament, all medical personnel rendering services in
                   connection with the Tournament, and each of their respective Affiliates successors and assigns, and the
                   respective present and former directors, officers, employees, agents, contractors, subcontractors, partners,
                   shareholders, Representatives and members of each of the foregoing entities, and the heirs, next of kin,
                   spouses, guardians, Representatives, executors, administrators, successors and assigns of each of the
                   foregoing.
                   Releasing Parties: each of the Player, t he Player' s heirs, next of kin, spouse, partner (or spousal equivalent or
                   life partner), minors, guardians, Representatives, executors, administrators, successors and assigns.



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                   Relevant Person : t he Player, t he Team, the Team Operator, the League Operator or any of its Affiliates and
                   any of t heir respect ive shareholders, directors, officers or employees, the game of golf, the League, any Team
                   Member, Ot her Player and/or any Other Team Operator, any League Rights Holder or Team Rights Holder.
                   Representatives: wit h respect to any Person, t he officers, directors, principals, employees, agents, auditors,
                   advisors, legal counsel, bankers and other representatives of such Person.
                   Retirement: shall occur if during the Term t he Player retires from professional golf such that he is unable to
                   play in all or a material number of Tournaments as a resul t of physical or mental incapacity or injury save
                   where any such injury or incapacity occurs as a result of alcohol or substance abuse or as a result of the Player
                   becoming injured as a result of undertaking any activity prohibited by the League Regulations and "Retires"
                   shall be construed accordingly.
                   Rules of Golf: the tournament Rules of Golf, as promulgated by the United States Golf Association and the
                   R&A (wit h t he League Regulat ions taking precedence in the event of any conflict or inconsistency bet ween
                   them and the Rules of Golf).
                   Schedule of Exceptions: all agreements or arrangements expressly set out in Schedule 4 in each case as in
                   effect and legally binding as of the Effective Date not including any amendment, supplement or waiver of any
                   such agreements or arrangement occurring or otherwise becoming effective on or after the Effective Date.
                   Season: the period of t ime in any Fiscal Year during t he Term in which the Tournament s in respect of such
                   period of time are played, with the 2022 Season being the season in which the first Tournament occurs in
                   2022 (and so on for further years).
                   Service Day: any day (or part t hereof) during the Term (other than during a Tournament Week) during which
                   the Player is required to participate in and assist the League Operator and/or the Team Operat or with
                   meetings, negotiations and/or other activiti es with corporate sponsors or other business partners of the
                   League including Team Promotional Activities and League Activities. It is agreed t hat (a) no single Service Day
                   shall exceed 8 consecutive hours and to determine Player participation in a Service Day, each Service Day
                   shall be measured in "half-day" increments of up to 4 consecutive hours and (b) in calculating t he same any
                   time spent by the Player other t han actually participating in the relevant act ivity (such as travelling, makeup,
                   wardrobe, meals or rest periods) shall not be counted towards the amount of time spent by the Player in
                   sat isfaction of t hese Service Day obligations.




                   Social Media: any digital websites, applications, services or other platform that enable users to create, share
                   and publish content via an online social environment or to otherwise participate in what is commonly known
                   as "social networking," in each case whether now existing or developed in the future including Facebook,
                   Snapchat, lnstagram, TikTok and Twitter.
                   Specified Approval: the League Operator Approval or t he Team Operator Approval.
                   Team: the Team Members select ed in accordance with a Player Draft and/or the League Regulations in each
                   case that will represent a Team in the League in accordance with the League Regulations.
                   Team Apparel : all apparel of any kind including all Tournament and training apparel, hats, gloves, patches,
                   badges, insignia, logoed items and foot wear, accessories and relat ed products of any kind (including bags,
                   golf bags, umbrellas, golf club head covers, towels, headwear, pads, arm, wrist and similar bands, water
                   bottles, sports performance eyewear or wat ches, heart, speed or distance monit oring or ot her biometric
                   devices (including any device designed to measure or collect Data or other biometric output), and personal
                   digital coaching, training or monitoring tools) provided to the Player to be worn, used or displayed by the
                   Player as required under this Agreement.
                   Team Content: the Content expressly designated as "Team Cont ent" in the Content Guidelines.
                   Team Mark: any Intellect ual Property rights of any kind used from time to time by the Team Operator or any
                   of its Affiliates in connection with t he Team Operat or and/or t he Team including all goodwill associated
                   therewith and/or generated thereby.
                   Team Member: any golfer (including the Player) properly cont racted and registered to play for t he Team in
                   accordance with the League Regulations.



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                   Team Operator: the Person designated as a "Team Operator" under the applicable Team Participation
                   Agreement and who executes and a Joinder in accordance with Section 2.6.
                   Team Operator Approval : any written approval required to be obt ained from the Team Operator or its
                   Affiliates under t his Agreement or t he League Regulations.




                   Team Promotional Activity: any activity of any kind organized by or on behalf of the Team Operator or any
                   Team Rights Holder in order to promote t he Team or such Team Rights Holder.
                   Team Rights: those commercial rights in respect of t he Team t hat may be exploited by t he Team Operator
                   under and in accordance with the Team Participation Agreement, t his Agreement and t he League Regulat ions
                   excluding all League Rights, all Subject IP and all rights reserved for t he League Operat or under the Team
                   Participation Agreement, this Agreement or otherwise.
                   Team Rights Agreement: any agreement or arrangement (written or oral) between the Team Operator and
                   any ot her Person which acquires any Team Right s and "Team Rights Holder" shall be construed accordingly.
                   Team Rules and Policies: t he rules, regulations and guidelines adopted by the Team or any of the Other
                   Teams, as applicable, from time t o time in accordance with the League Documents.
                   Team Services Provider: all Team Members, caddies and all of t he other individuals who provide services to
                   the Team Operator in any capacity other than the League Operator and its Affiliates (and excluding t he Team
                   Operator and its Affiliat es), in each case, solely in t heir capacity as Persons providing services to the Team
                   Operator or participating in the League.
                   Team Staff: any person employed or engaged in relation to t he operation of the Team Operator and/or
                   commercialization of t he Team.
                   Team Website: the official Team website, ownership or which shall form part of the Digit al Rights.
                   Team World Championship: the final Tournament of each Season (excluding any League Qualification Event)
                   t o determine t he "Team World Champions" as set out in t he League Regulations.




                   Ticketing Rights: the right to design, print, distribute, sell, market and coordinate t he re -sale and t ransfer of
                   tickets or ot her indicia of admission in relation to any event, including any Event.
                   Tournament: each of the tournaments occurring during a Season comprising t he Regular Tournaments, the
                   Team World Championship and t he League Qualification Event, in each case, in accordance with t he League
                   Regulations.
                   Tournament Amount: the t otal number of Regular Tournaments scheduled to occur during any Season plus
                   one.
                   Tournament Content: all Content in re lation to each Tournament including t he period before, during and
                   after Tournament Play (such as pract ice sessions and interviews) as may be further set out in t he Content
                   Guidelines.
                   Tournament Play: any competit ive golf played as part of any Tournament.
                   Tournament Week: the period during which each Event occurs, beginning at 10.00 am local time on t he dat e
                   that is 2 days immediately preceding such Event up to and including t he final day of Tournament Play and,
                   where appropriate, the day following such final day as may be specified in the League Regulations.
                   Transmission: any and all forms of television broadcasts, video and/or audio broadcasts or streaming whet her
                   scheduled or on demand by any means and in whatever format (whether linear, OTT, interactive, free to air,
                   pay or otherwise).
                   Venue: any venue which hosts a Tournament and the agreement pursuant to which such venue is contracted
                   for the Tourna ment shall be a "Venue Agreement."

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                    Willful Breach: a breach that is a consequence of an act or omission knowingly underta ken or knowingly
                    omitt ed by the breaching party wit h the int ent of causing a breach of the applicable provision of this
                    Agreement.




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                                                                              ANNEX A

                                                                   JOINDER AGREEMENT
                                 This Joinder Agreement (this "Joinder"), dat ed _ _ _ _ _ _..., 20_, is delivered pursuant to t hat certain
            Player Participation Agreement (as may be amended, modified or supplemented from time to time, the "Agreement"), dated as
            of _ _ _ _ _ __, 20_, by and among LIV Golf Holdings Ltd, a privat e lim ited company incorporated under t he laws of Jersey
            ("League HoldCo"), LIV Golf Incorporated, a Delaware corporation ("US OpCo"), LIV Golf Ltd, a private limited company
            incorporated under t he laws of England and Wales ("UK OpCo"; collectively with League Holdco and US OpCo, the "League
            Operator") and [.     ), an individual who lives at the address set forth on the signature pages to the Agreement (the "Player").
            Capitalized terms not defined herein sha ll have t he meanings set forth in the Agreement .
                                 WHEREAS, League Holdco, t hrough its wholly owned operat ing subsidiaries US OpCo and UK OpCo, w ill own
            and operate the professional worldwide golf competition (the "League") comprising the Regular Tournaments, t he Team World
            Championship and t he League Qualification Events (in each case as fu rther described in t he League Regu lat ions);
                                 WHEREAS, the League Operator previously select ed t he Player to initially represent a tea m in t he League to
            be designated by t he League Operat or, and t he Player previously agreed to represent such team in the League designated by t he
            League Operat o r, in each case on t he t erms and subject to t he conditions of t he Agreement , t he Regulations and, as may be
            applicable, t he Team Rules and Pol icies;
                                 WHEREAS, t he undersigned has entered into a Team Participat io n Agreement w it h League Operator w hereby,
            subject to t he League Regulations and among other things, t he undersigned has been granted t he right t o operate a team in t he
            League; and
                                   WHEREAS, t he League Operat o r has selected the Team operated by t he undersigned to be t he Team
            represented by t he Player, and t he undersigned wishes t o join t he Agreement as t he Team Operator.
                                   NOW, THEREFORE, t he undersigned hereby agrees as follows:
                        1.         The undersigned hereby agrees t hat effect ive immediately, it shall become a party t o t he Agreement as t he
            Team Operator, and sha ll by fully bound by and subject to all of t he covenants, terms and conditions set forth in t he Agreeme nt
            and t he annexes, schedules and exhibit s t hereto t hat are applicable to t he Team Operat o r.
                        2.         The undersigned hereby represents and wa rrants to t he League Operat or and t he Player as follows: (a) The
            undersigned has full legal capacity, right , power and aut hority (including, if t he undersigned is an ent ity, full o rganizational power
            and authority) t o execute and deliver t his Joinder, to consummate t he t ransactions contemplat ed hereby and by the Agreement
            and t o perfo rm its obligation hereunder and under the Agreement . (b)The undersigned has received and reviewed a copy of t he
            Agreement and has had t he opportunity to consult with legal counsel, tax accounta nts and other professiona l advisors concerni ng
            t he legal, t ax, account ing and other matters related to t his Joinder and t he Agreement. (c) This Jo inder has been duly and validly
            executed and delivered by t he undersigned and constit ut es a legal, va lid and binding obligat ion of t he undersigned, enforceable
            against t he undersigned in accordance w it h t he terms hereof, except as enfo rcement may be limited by applicable bankruptcy,
            insolvency, reorgan izat ion, moratorium, fraudulent transfer and sim ilar laws of general applicability relat ing to or affecting
            creditors' rights or by general equity principles. All consents necessary for the execution and delivery by t he undersigned of t his
            Joinder have been obt ained, and t he undersigned need not give any notice to, make any filing w it h, or obtain any aut horization,
            consent, or approval of any Governmental Aut hority in o rder t o consummate t he t ransactions contemplated hereby and by t he
            Agreement . (d) The execution and delivery of this Joinder by t he undersigned does not, t he consummation of t he tra nsactions
            contemplated hereby and by t he Agreement, and t he performance of its obligat ion hereunder and under t he Agreement by t he
            undersigned w ill not conflict with or violate any law or other restrict ion of any Government al Authority applicable to t he
            undersigned or by which the undersigned or any of the undersigned's properties is bound or affected, or, if the undersigned is a
            corporat ion, limited liability compa ny o r partnership, any provision of its charter and bylaws or compa rable organ izat ional
            documents.
                        3.         This Joinder may only be amended or supplement ed by an inst rument in writ ing signed by t he undersigned
            and US OpCo, and no waiver by t he undersigned or League Operator of any of t he provisions hereof shall be effect ive unless
            explicit ly set forth in w rit ing and signed by the person so wa iving. This Joinder shall become effective immediat ely upon t he
            execution hereof by t he undersigned._The provisions of Sect ions 16-20 (inclusive) of Schedu le 5 of the Agreement shall, mutatis
            mutandis, apply to t his Joinder as if t hey had been fu lly set forth herein. This Joinder may be execut ed and delivered in two or
            more cou nterparts, including by electronic delivery in a .pdf file, each of which shall be deemed an original and all of w hich will
            const itute one and t he same instrument .•This Joinder, toget her w it h t he Agreement , t he League Documents and t heir respect ive
            exhibits, schedules and an nexes toget her represent t he ent ire underst anding of t he parties hereto w it h reference to t he subject
            matter hereof and t hereof and supersede any and all other o ral o r written agreements heretofore o r t heretofore made.




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